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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 20-223(7)(WMW/LIB)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                  PROPOSED JOINT FINDINGS
                                                  UNDER CARES ACT
        v.

 (7) DREW WILLIAM GRAVES,

                      Defendant.

       The United States of America and Drew William Graves, by and through his

attorney, Robert Richman, hereby submit the following proposed findings to support

proceeding by videoconference under the Coronavirus Aid, Relief, and Economic Security

Act (CARES Act), Pub. L. No. 116-136, §§ 15002(b)(2)(A). Pursuant to the CARES Act,

Pub. Law. No. 116-136, §§ 15002(b)(2)(A) and (b)(4), the Court may proceed with Mr.

Graves’ change of plea hearing by videoconference so long as the Court finds “specific

reasons” that the change of plea hearing “cannot be further delayed without serious harm

to the interests of justice.” In this case, further delay will harm the interests of justice

because Mr. Graves indicated on and before March 11, 2022, that he was prepared to enter

a guilty plea in this case. Moreover, this case stems from a late 2019 investigation involving

a large drug conspiracy on the Red Lake Indian Reservation and the December 2019 arrest

of Mr. Graves. Multiple defendants are at various stages in the court process. Since his

federal arrest on a supervised release violation in early 2020 and subsequent new charges

in this matter in late 2020, Mr. Graves has awaited a semblance of finality regarding this


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matter. After violating the conditions of his pretrial release, Mr. Graves has been in custody

since December 2021. Given the length of the investigation, and Mr. Graves’ desire for

finality, it is important to Mr. Graves that his case proceed forward without delay.

       At this time, there continues to be a risk of COVID-19 infections in this District and

within the local jails, including the Douglas County Jail where Mr. Graves is confined.

Accordingly, it is safer for Mr. Graves and the jail population that Mr. Graves does not

travel to the Twin Cities metropolitan area to appear in person for this proceeding.

Proceeding by video conference will ensure a timely resolution of this matter without

having to wait for the pandemic to wane.

       Additionally, pursuant to General Order No. 34 and Mr. Graves’ consent (ECF No.

162), this Court has the authority to conduct Mr. Graves’ change of plea hearing using

video teleconference technology. Given these reasons, the parties represent to the Court

that there are “specific reasons” under the CARES Act to conduct Mr. Graves’ change of

plea hearing currently set for March 18, 2022, at 10:30 a.m. via video teleconference.


 March 16, 2022                                Respectfully submitted,

                                               CHARLES J. KOVATS, Jr.
                                               /s/ Deidre Y. Aanstad
                                               Deidre Y. Aanstad
                                               Assistant U.S. Attorney


                                               /s/ Robert Richman
                                               Robert Richman, Esq.
                                               Counsel for Drew William Graves




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